         Case 4:18-cr-00084-WTM-JEG Document 85 Filed 09/04/18 Page 1 of 2
                                                                       FILED
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                                                                   SAVANNAH DIV.
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                                                                2Bii<^rp-U PH 2: |i+
                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF GEORGIA
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                               SAVANNAH DIVISION                  SO.OIST. OF GA.



    UNITED STATES OF AMERICA,


    V.                                            Case No.    CR417-262


    EMMITT SCOTT,
                     Defendant,




    UNITED STATES OF AMERICA,


    V.                                            Case No.    CR418-084


    YAMPIEL SOTOLONGO,
                     Defendant.




    UNITED STATES OF AMERICA,


                                                  Case No.    CR418-089


    NAQUONN SOLOMON,
                     Defendant,




    UNITED STATES OF AMERICA,


    V.                                            Case No.    CR418-093


    ROBERT FUTRELL,
                     Defendant,




                                     ORDER


          Katie A. Brewington, counsel of record for defendants in the

    above-styled cases, has moved for leave of absence.          The Court is
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